                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR05-4112-MWB
 vs.                                          ORDER ACCEPTING MAGISTRATE
                                                  JUDGE’S REPORT AND
 VICTOR AGUIAR,                               RECOMMENDATION REGARDING
                                                DEFENDANT’S GUILTY PLEA
               Defendant.

                                 ____________________

                      I. INTRODUCTION AND BACKGROUND
       On November 8, 2005, an information was filed against defendant Victor Aguiar,
charging defendant with conspiracy to distribute 500 grams or more of methamphetamine,
in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 851. On May 11, 2006,
defendant appeared before United States Magistrate Judge Paul A. Zoss and entered a plea
of guilty to Count of 1 of the information. On this same date, Judge Zoss filed a Report
and Recommendation in which he recommends that defendant’s guilty plea be accepted.
No objections to Judge Zoss’s Report and Recommendation were filed. The court,
therefore, undertakes the necessary review of Judge Zoss’s recommendation to accept
defendant’s plea in this case.


                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or



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              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss’s findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss’s Report and Recommendation of May 11, 2006,
and accepts defendant’s plea of guilty in this case to Count 1 of the information.
       IT IS SO ORDERED.
       DATED this 30th day of May, 2006.




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